Case 1:20-cv-01191-WCB Document 352 Filed 12/22/23 Page 1 of 2 PageID #: 9963
Case 1:20-cv-01191-WCB Document 352 Filed 12/22/23 Page 2 of 2 PageID #: 9964




Declarations with Exhibits thereto filed under seal at D.I.s 347, 348, 349 and 350 to January 10,

2024.



 KRATZ & BARRY LLP                              RICHARDS, LAYTON & FINGER, P.A.

 /s/ R Touhey Myer                              /s/ Alexandra M. Ewing
 R Touhey Myer (#5939)                          Jeffrey L. Moyer (#3309)
 800 N. West Street                             Alexandra M. Ewing (#6407)
 Wilmington, DE 19801                           One Rodney Square
 (302) 527-9378                                 920 N. King Street
 tmyer@kratzandbarry.com                        Wilmington, DE 19801
                                                (302) 651-7700
 Attorneys for Plaintiff,                       moyer@rlf.com
 Ryanair DAC                                    ewing@rlf.com

                                                Counsel for Defendants,
                                                Booking Holdings Inc., Booking.com B.V.,
                                                Kayak Software Corporation, Priceline.com
                                                LLC, and Agoda Company Pte. Ltd.

Dated: December 21, 2023




SO ORDERED this 22nd day of December, 2023.



                                                    WILLIAM C. BRYSON
                                                    UNITED STATES CIRCUIT JUDGE




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